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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA

   AMERICAN SENIOR COMMUNITIES,                    )
   LLC,                                            )
                                                   )
                                  Plaintiff,       )
                                                   )
                                                       Civil Action No. 1:17-cv-3273-TWP-DML
                         v.                        )
                                                   )
   JAMES BURKHART, ET AL.,                         )
                                                   )
                                  Defendant.       )


   MOTION OF NONPARTIES FIRST FEDERAL SAVINGS BANK AND THOMAS MILLS
   TO QUASH THIRD-PARTY SUBPOENAS AND MOTION FOR PROTECTIVE ORDER

         Nonparty First Federal Savings Bank (“First Federal”) and its employee, nonparty Thomas

  Mills (“Mr. Mills”), request that this Court enter a protective order pursuant to Federal Rules of Civil

  Procedure 26(c) and 45(d)(3) forbidding in whole or in part the discovery sought by subpoenas that

  Plaintiff American Senior Communities, LLC (“ASC”) issued to them.

         As a threshold matter, Mr. Mills holds no documents responsive to ASC’s subpoena in a

  personal capacity ― any documents requested by ASC, to the extent they exist, are controlled by his

  employer, First Federal. Mr. Mills has already informed ASC that he holds no responsive documents

  in his individual capacity. Ex. 1,Mills Subpoena Objections; Ex.2, 5/6/19 email. Accordingly, any

  order to produce documents under the subpoenas should be directed only to First Federal.

         Turning to the subpoena to First Federal, First Federal is a complete stranger to this litigation.

  First Federal was subpoenaed because it has a banking relationship with another nonparty to this

  litigation, Rob New, who has also been subpoenaed. First Federal is not named in the complaint in

  this litigation and was not involved in any of the conduct alleged in the complaint. ASC contends that

  First Federal may have bank records for the accounts of Rob New that reflect payments to or from Jim

  Burkhart, a defendant in the litigation.
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         By correspondence dated June 14, 2019, First Federal responded to the subpoenas as it relates

  to all requests pertaining to parties other than Mr. New or his entities. First Federal and Mr. Mills adopt

  and incorporate by reference the arguments of nonparty Rob New as described in his motion to quash

  and motion for protective order, and his memorandum in support of those motions. The subpoenas are

  barred by the Confidential Settlement Agreement between Mr. New and ASC, which released “any

  and all claims, demands, damages, actions, causes of action, suits, costs (including court costs),

  expenses, attorneys’ fees, judgments, sums of money or claims of any kind or nature whatsoever”

  against Mr. New and his companies. This release bars the requested discovery into ten years of Mr.

  New’s financial records. See Dart Indus. Co. v. Westwood Chem. Co., 649 F.2d 646, 648 (9th Cir.

  1980). In addition, the subpoenas are an overbroad fishing expedition into irrelevant information that

  impose an undue burden on nonparties. See Uppal v. Rosalind Franklin Univ. of Med. & Sci., 124 F.

  Supp. 3d 811, 813 (N.D. Ill. 2015); Tresona Multimedia, LLC v. Legg, No. 15 C 4834, 2015 WL

  4911093, at *2-*3 (N.D. Ill. Aug. 17, 2015). Finally, the subpoenas fail to make the “clear showing of

  immediate need” necessary for the disclosure of confidential commercial information. Pioneer Hi-

  Bred Intern. Inc. v. Holden’s Foundation Seeds, Inc., 105 F.R.D. 76, 81-82 (N.D. Ind. Feb. 15, 1985)

  (citations omitted).

         First Federal and Mr. Mills independently object to the subpoenas on two additional grounds.

  First, the subpoenas ― which seek ten years’ worth of all financial records and communications

  relating to particular customers, primarily Mr. New, who is not himself a party to the litigation ― are

  overbroad and unduly burdensome as a matter of law. E.g. U.S. ex rel. Pool v. NMC, Inc., No. 2:09-

  CV-66-WTL-WGH, 2010 WL 4668790, at *2 (S.D. Ind. Nov. 9, 2010) (“The subpoena, as issued, is

  overbroad in that it would require disclosure of all of [the defendant’s] financial transactions, both

  relevant and irrelevant to the issues presented in this litigation.”); Ultimate Timing, L.L.C. v. Simms,

  No. 3:09-MC-6-RLY-WGH, 2010 WL 378436, at *1 (S.D. Ind. Feb. 1, 2010) (“These requests by

  Plaintiffs for ‘all financial records’ are simply too broad and, therefore, are unduly burdensome.”).

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         Second, the subpoenas to Mr. Mills and First Federal impose an undue burden because they are

  duplicative of requests that could be (or have been) made to parties to the case, including Mr. Burkhart.

  See Graham v. Casey's Gen. Stores, 206 F.R.D. 251, 255 (S.D. Ind. 2002) (quashing subpoena to

  nonparty employer because “this information is discoverable through a less intrusive means . . .

  Defendant may serve a request for production on [the plaintiff].”) This is particularly true in light of

  First Federal’s significant obligations as a bank to protect its customers’ confidential information, to

  provide appropriate notice, and to honor customer attempts to opt out of disclosures. See, e.g. 15

  U.S.C. §§ 6801-02 (“each financial institution has an affirmative and continuing obligation to respect

  the privacy of its customers and to protect the security and confidentiality of those customers’

  nonpublic personal information”). Mr. Burkhart or other individuals would not be subject to the same

  level of confidentiality and notice obligations.

         For all of these reasons, First Federal and Mr. Mills respectfully request that this Court enter an

  order granting this Motion, granting a protective order precluding the discovery sought in the

  subpoenas to Mr. Mills and First Federal, and quashing ASC’s subpoenas to Mr. Mills and First

  Federal.

    Dated: June 14, 2019                                 CARSON LLP


                                                         By: /s/ Robert Nicholson
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                                    CERTIFICATE OF SERVICE

          I, Robert Nicholson, an attorney, certify that on June 14, 2019, I served the foregoing upon
  the following attorney of record via electronic mail:

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                                                           By: /s/ Robert Nicholson




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